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October 15, 2020




VIA FINRA DR PORTAL

Lisa Lasher, FINRA Case Administrator
FINRA Dispute Resolution
Boca Center Tower 1
5200 Town Center Circle
Suite 200
Boca Raton, FL 33486
Re:    FINRA DR Case No. 19-02053; Beverley B. Schottenstein, et al. vs. J.P. Morgan
       Securities, LLC, Evan A. Schottenstein and Avi E. Schottenstein

Dear Ms. Lasher:

We represent J.P. Morgan Securities LLC (“JPMS”). We write in response to your memorandum of this
evening which revealed the contents of an inappropriate conversation that took place between a FINRA
staff member and James Scutti, who was appointed to serve as an arbitrator in this case two days ago.
In light of that conversation, it is clear that Mr. Scutti is biased against JPMS and that JPMS cannot
receive a fair and impartial decision from him. Thus, FINRA has no choice but to immediately remove
Mr. Scutti from this case for bias and/or in an exercise of the Director’s discretion.

As recounted in your letter, after JPMS questioned Mr. Scutti’s classification as a “public” arbitrator, a
FINRA staff member spoke with Mr. Scutti this morning to confirm the length of time and percentage of
Mr. Scutti’s professional career spent representing parties in the financial industry. Revealing his
indisputable bias against industry parties, during the conversation Mr. Scutti asked the staff member “if
the industry party raised the issue and asked if it was JP Morgan” who had questioned his qualifications.
Shockingly, instead of informing Mr. Scutti that his question was inappropriate and would not be
answered, the FINRA staff member then told Mr. Scutti that JPMS was indeed the party that had
challenged his qualifications. These communications establish, beyond any shadow of doubt, that JPMS
has no chance of receiving a fair and impartial hearing with Mr. Scutti as a panelist.

Pursuant to FINRA Rule 12407(a)(1), in advance of the first hearing session, the Director “will grant a
party’s request to remove an arbitrator” where “it is reasonable to infer, based on information known at
the time of the request, that the arbitrator is biased [or] lacks impartiality.” There is no doubt that Mr.
Scutti posing any question concerning the identity of the party who had challenged his qualifications is
entirely inappropriate, but here, Mr. Scutti’s demand to know whether JPMS had raised the challenge is
concrete and demonstrated evidence of bias requiring removal under Rule 12407.
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In addition, Mr. Scutti should be removed from this case in an exercise of the Director’s discretion. As
FINRA has stated, “[a]rbitrators must not only be impartial in fact, but must also appear to be impartial.
Parties must believe an arbitrator is able to render a fair decision.”1 Suffice it to say, the evidence is clear
that Mr. Scutti is not able to render a fair decision in this case. FINRA Rule 12408 permits the Director
to “exercise discretionary authority and make any decision that is consistent with the purposes of the
Code to facilitate the appointment of arbitrators and the resolution of arbitrations.” That discretion should
be exercised here to remove the taint caused by the wholly improper communications between Mr. Scutti
and a FINRA staff member earlier today. Both Mr. Scutti and the FINRA staff member acted
inappropriately and to JPMS’s detriment. Accordingly, if the Director does not remove Mr. Scutti for bias
under Rule 12407, the Director can and should exercise his discretionary authority to remove him under
Rule 12408.



Respectfully submitted,



Gabrielle L. Gould



cc:     Scott C. Ilgenfritz, Esq. (by FINRA Portal)
        Jonathan J. Brennan, Esq. (by FINRA Portal)




1
 Brady, Barbara L., Are you forgetting to make Necessary Disclosures?, The Neutral Corner, Vol. 2, 2013 at 3 (original
emphasis).
